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   EXHIBIT
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                  U. S. Department of Justice
                  Federal Bureau of Prisons
                  United States Penitentiary,
                 Administrative Maximum       Institution
                 Florence, Colorado


                  INSTITUTION SUPPLEMENT
OPI:          Unit Management
NUMBER:        FLM 5321.09(1)A
DATE:         June 6, 2024

General Population and Step-Down Unit
Operations

                      |     ic
Approved:     A. Ciolli,    Complex Warden
               ADX Florence


4.   PURPOSE AND SCOPE:         To establish operational guidelines for the units which are
     designated as the general population and step-down units.

2.   DIRECTIVES AFFECTED:

     A.     Directives Rescinded:     Institution Supplement FLM 5321.08(1)D,
            General Population  and  Step-Down    Unit Operations, dated
            February 22, 2024, and Program Statement 5322.13, Inmate
            Classification and Program Review, dated May 16, 2014.

     B.     Directives Referenced:       Program Statement 5270.09 CN-1, Inmate
            Discipline Program, dated November 18, 2020; Program Statement
            5321.09, Unit Management and Inmate Program Review, dated
            April 8, 2024.

     C.     Standards Referenced:         American Correctional Association, Sth
            Edition, Standards for Adult Correctional Institutions: 5-ACI-1A-15, 5-
            ACI-1G-06, 5-ACI-2B-02, 5-ACI-2B-03, 5-ACI-3A-06, 5-ACI-3A-17, 5-ACI-
            4A-12, 5-ACI-5B-05, and 5-ACI-5E08.

3.   GENERAL PROCEDURES:

     A.     GENERAL POPULATION UNITS (C, D, E, F, and G)

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          1)    Inmates housed in these units require hand restraints, behind the
                back, and two-officer escorts when being removed from their cells.
                Any time an inmate is handcuffed in the front, a martin chain must
                be used in addition to the handcuffs.

          2)    These units have indoor and outdoor, single occupancy recreation
                areas. All out-of-cell recreation will occur within the unit, in one of
                the single occupancy recreation areas. Inmates will ordinarily be
                afforded a minimum of ten hours out-of-cell exercise per week.
                An inmate will be returned to his cell upon his request. Anyone
                voluntarily returning to his cell, for any reason, terminates the
                remainder of his recreation period for that day. Recreation
                periods missed due to visits (legal or social), medical call-outs, and
                Religious Services will not be rescheduled. The Unit Recreation
                Log will be completed by the unit officers to document acceptance
                or refusal of recreation, type of recreation, and amount of time the
                inmate received recreation. The Unit Recreation Log will be
                provided to, and maintained by, the Captain.

          3)      Inmates will consume their meals within their cells.

          4)      Shower stalls are located within each cell.    Inmates are authorized
                to shower between 6:00 a.m. and 10:00 p.m.

          5)      Unit orderlies for ranges and recreation areas will be assigned by
                  the Unit Manager. Barbering facilities are available in each unit.
                  Social and legal telephone calls will be conducted as established in
                  the Institution Supplement on Telephone Regulations. Each unit
                  contains an electronic law library, which inmates may sign-up to
                  utilize. Programming, including Drug Abuse, Psychology,
                  Education, Recreation, Religious Services, Re-Entry, and
                  unit/facility information, is available via, but not limited to, closed
                  circuit television, which is located in each cell.

          6)      Inmates with out going legal mail with have their legal mail ready
                  for pick up by the Unit Team by 7:00 a.m., Monday through Friday.

           7)     Outside, Out-Of-Cell recreation suspension/restriction

                    a.   When an inmate violates institution rules and regulations
                         during his out-of-cell recreation, his outside, out-of-cell
                         recreation on a large recreation yard may be temporarily
                         suspended.      Examples of violations include, but are not
                         limited to, sexual acts or gestures, assaulting or resisting
                         staff during escort to or from the recreation area, destruction

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                         of the recreation area, smearing or throwing human waste,
                         etc.

                         Staff will initiate disciplinary action and notify the Operations
                         Lieutenant of any violation(s) immediately.

                         The Operations Lieutenant will initiate     a memorandum
                         requesting the inmate’s outside, out-of-cell recreation on the
                         large recreation yard be immediately suspended. The
                         memorandum will also request that the inmate’s outside,
                         out-of-cell recreation be immediately restricted to the
                         outside, single occupancy recreation areas around the
                         housing unit's control center. The memo will be forwarded
                         through the Captain and ADX Associate Warden with
                         oversight of Correctional Services, to the Warden for
                         approval, with a copy to the Unit Manager.

                         If approved, the inmate’s initial suspension/restriction will be
                         for three months. The Warden may impose an increased
                         suspension/restriction for repeated, frequent violations.

                         Upon initial entry into the Intermediate Step-Down Program
                         (J/A Unit), the Warden may limit or restrict group recreation
                         of the inmate for up to two weeks. Inmates transitioning
                         into that step will ordinarily be allowed an out-of-cell
                         recreation for one and a half hours a day. Unit Staff will
                         provide a written notice of the transition procedures
                         concerning each inmate.

    B.   STEP-DOWN         PROGRAM      UNITS

          1)      Intermediate Unit (J/A-Unit):

                   a.    Ordinarily, this is the second step of the program prior to transfer to
                          an appropriate facility.

                          The escort requirements for inmates housed in this unit are the
                          same as those in the General Population Units. Inmates will be
                          assigned to one of four groups. Each group will have a maximum
                          of eight inmates.

                          This unit has an outdoor recreation area.        Inmates will ordinarily
                          be afforded a minimum of 20% hours out-of-cell exercise per week.
                          Out-of-cell recreation will include the use of the outdoor recreation
                          area and unit range.       Each group of inmates will be allowed on the


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                        range for 1% hours each day.      All other aspects of recreation are
                        the same as those in the General Population Units.

                        Inmates will consume their meals within their cells.

                        Showers are located on the ranges.       Inmates may shower at any
                        time they are on the range.

                        All other programming activities, orderly assignments, basic law
                        library usage, and barbering facilities are the same as those in the
                        General Population Units.

                        The Unit Recreation Log will be completed by the unit officers to
                        document acceptance or refusal of recreation, type of recreation,
                        and amount of time the inmate receives recreation. The Unit
                        Recreation Log will be provided to, and maintained by the Captain.

                        Telephone usage will be limited to six (6) phone calls per month.
                        Inmates eligible for email access will be allowed 150 emails per
                        month and up to five contacts.

          2)   Transitional Unit (B/A Unit Phase 1):

                  a.    This unit is physically located in B/A Unit at United States
                        Penitentiary (USP) Florence, Colorado.

                        Ordinarily, this is the third step of the program prior to transfer to
                        an appropriate facility.

                        The escort requirements for inmates housed in this unit are the
                        same as those in the General Population Units. Inmates will be
                        assigned to one of four groups. Each group will have a maximum
                        of twelve inmates.

                        Inmates will recreate with their assigned group. The inmates’ out-
                        of-cell recreation will include recreation in the unit and in the
                        outdoor group recreation area.      Recreation periods missed due to
                        visits (legal or social), medical call-outs, and Religious Services will
                        not be rescheduled. Ordinarily, inmates will receive 30% hours of
                        recreation per week.

                        Inmates will consume their meals on the range with their assigned
                        group.




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                       Inmates will be unrestrained when out of their cells. The use of
                       restraints is not required during the escort of inmates to various
                       programming areas.

                       Showers are located on the ranges.        Inmates may shower at any
                       time they are on the range.

                       All other programming activities, orderly assignments, electronic
                       law library usage, and barbering facilities will be the same as those
                       in the General Population Units.

                       Telephone usage will be limited to 150 minutes per month.
                       Inmates eligible for email access will be allowed 150 emails per
                       month and up to five contacts.

         3)   Pre-Transfer Unit (B/A Unit Phase Il):

                  a.    This unit is physically located in B/A Unit at USP Florence,
                        Colorado. B/A Unit is considered an ADX Unit. The ADX Case
                        Manager will make B/A rounds once per week.

                        Ordinarily, this is the final step of the program prior to transfer to an
                        appropriate facility.

                        The escort requirements for inmates housed in this unit are the
                        same as those in the General Population Units. Inmates will be
                        assigned to one of four groups. Each group will have a maximum
                        of twelve inmates.

                        Upon arrival in this step of the program and until completion, an
                        inmate will be evaluated by Unit Team and SIS personnel. During
                        this phase of the program each inmate will be required to take a
                        cell mate as deemed appropriate by Unit team and SIS staff.

                        Inmates will be unrestrained when out of their cells. The use of
                        restraints is not required during the escort of inmates to various
                        programming areas.

                        Inmates will consume their meals on the range with their assigned
                        group.

                        Showers are located on the ranges.        Inmates may shower at any
                        time they are on the range.

                         Inmates will recreate with their assigned group.     The inmates’
                        out-of-cell recreation will include recreation in the unit and in the

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                          outdoor group recreation area. Recreation periods missed due to
                          visits (legal or social), medical call-outs, and Religious Services will
                          not be rescheduled. Ordinarily, inmates will receive 30% hours of
                          recreation per week.

                    i.    Ordinarily, inmates will be employed as orderlies, tutors, barbers,
                          and education/recreation workers in the unit.     Assignments will be
                          made by the Unit Manager.

                    j.    Barbering facilities will be made available. Social and attorney
                          calls will be conducted as established in the Institution Supplement
                          on Telephone Regulations. Each unit contains an Electronic Law
                          Library, which inmates may sign-up to utilize. Programming,
                          including Drug Abuse, Psychology, Education, Recreation, Re-
                          Entry, and Religious Services are available.

                    k.    Telephone usage will be limited to 200 minutes per month.
                          Inmates eligible for email access will be allowed 175 emails per
                          month and up to five contacts.

4.   CANCELLATION OF OUT-OF-CELL RECREATION

     A.   On those rare occasions when institution emergencies or adverse weather
          interferes with the recreation schedule, the following procedures will apply:

           1)    The Operations Lieutenant has the authority to cancel recreation due to
                 an institution emergency or adverse weather.

           2)      Unit officers will ensure any lost recreation time is clearly noted in the unit
                   log, and this information is relayed to the Unit Manager for monitoring.

            3)     The Captain and Unit Manager must confer with the appropriate
                   Associate Warden concerning canceled recreation.

5.   STEP-DOWN PROGRAM             (PROGRAM)

     A.   PURPOSE & SCOPE

            1)     The procedures for the program do not affect the Federal Bureau of
                   Prisons’ authority — pursuant to 18 U.S.C. § 3621(b) and as delegated by
                   the Attorney General under 28 C.F.R. § 0.96(c) — to designate an inmate
                   to a different facility, or transfer an inmate between different facilities.

            2)     The program utilizes a stratified system of less-restrictive housing to
                   provide inmates with incentives to adhere to the standards of conduct
                   associated with a maximum security custody program.          Specifically, the
—______

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               program consists of four steps, differentiated by the conditions of
               confinement and the minimum time frames for completion of each step.
               As an inmate at the ADX demonstrates periods of clear conduct and
               positive institution adjustment, it is possible for the inmate to progress
               through each of the four steps, with increasing degrees of personal
               freedom and privileges at each step, and be transferred out of the
               program to an open population institution. An inmate’s placement in,
               advancement through, and transfer out of, the program is a classification
               decision as to whether the inmate can safely function in a less-restrictive
               unit without posing a risk to institutional security and good order; posing a
               risk to the safety and security of staff, inmates or others, including the
               inmate himself; and/or posing a risk to public safety.

          3)   Every inmate has the opportunity to demonstrate he may be housed in a
               less-restrictive unit.

          4)   Ordinarily, the four steps and minimum stay in each step are:

               a.     General Population Unit (C, D, E, F, and G) - 12 months,
               b.     Intermediate Step (J/A-Unit) - 6 months;
               c.     Transitional Step - (B/A, Phase 1) - 3 months;
               d.     Pre-Transfer Step - (B/A, Phase II) - 6 months.

               There is no minimum or maximum time period for completion of the
               program. There is no requirement an inmate must spend time in, or
               complete any or all of the steps to be recommended for transfer out of the
               General Population and Step-Down Program to an open population
               institution.

          5)      Staff must assess whether the inmate has actually demonstrated he can
                  function in a less-restrictive environment through his meeting of the
                  eligibility requirements.

          6)      In assessing an inmate’s appropriateness for placement into,
                  advancement through, or transfer out of the program, the Step-Down
                  Screening Committee may determine that while the inmate’s behavior has
                  been compliant, additional time is needed to assess the inmate’s behavior
                  to ensure that when placed in, advanced through, or transferred out of the
                  program the inmate will not: pose a risk to institution security and good
                  order; pose a risk to the safety and security of staff, inmates or others,
                  including the inmate himself; and/or pose a risk to public safety with the
                  additional personal freedom and privileges. If the Step-Down Screening
                  Committee makes such a determination, the inmate’s placement in,
                  advancement through, or transfer out of the program may be deferred.


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          7)   All steps of the program, to include the Transitional Step (B/A Phase 1!)
               and the Pre-Transfer Step (B/A Phase II), are considered part of the ADX.

    B.   REFERRAL & ELIGIBILITY FACTORS

          1)   The unit team will review each inmate to determine eligibility for
               consideration for placement in, advancement through, and/or transfer out
               of, the Program. Ordinarily, the review will be conducted in connection
               with regularly scheduled Program Reviews. The inmates are provided a
               minimum of 48 hours notice of scheduled Program Reviews, are
               expected to attend, and can personally raise questions and concerns
               about his placement in, advancement through, or transfer out of the
               program. These meetings are held at least once every six months.
                  Program Reviews give staff and inmates the opportunity to discuss issues
                  in an open forum.

          2)   Eligibility for Placement, Advancement, and Transfer - Ordinarily, an
               inmate, in addition to the minimum stay in each step, must meet the
               following factors to be eligible for consideration for placement in,
               advancement through, or transfer out of the Step-Down Program:

                  a.      Clear conduct (e.g., no disciplinary infractions, etc.) while housed
                          in each step;

                  b.      Active participation in and completion of all programs
                          recommended by the unit team;

                  C.      Active participation in the Inmate Financial Responsibility Program
                          (if applicable);

                  d.       Positive behavior and respectful conduct towards staff and other
                          inmates; and

                  e.       Positive overall institution adjustment to include, but not limited to,
                           personal hygiene, cell sanitation, etc.

          3)      The inmates who the unit team determines are eligible for consideration
                  for placement into, or advancement through, or transfer out of the
                  program will be referred to the Step-Down Program Screening Committee
                  for consideration.




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   C.   REVIEW PROCEDURE

          1)   Placement/Advancement/Recommendation for Transfer

                  a.    A multi-discipline Step-Down Program Screening Committee will
                        review each inmate referred by the unit team to determine their
                        appropriateness for placement into, advancement to the next step,
                        or transfer out of the program.

                        The composition of the Committee will ordinarily consist of staff
                        from the ADX (i.e., Warden, Associate Warden, Unit Managers,
                        Captain, Special Investigative Staff, Case Management
                        Coordinator, Psychology, Attorney) and Intelligence Analysts from
                        the Intelligence and Counterterrorism Branch.

                        The determinations made by the Committee are made on a case-
                        by-case basis.

                       . Eligibility for consideration does not equate to appropriateness for
                         placement into, advancement to the next step, or transfer out of
                         the Program.

                       . The factors the Committee may consider when determining
                         whether the inmate is appropriate for placement into, advancement
                         to the next step, or transfer out of the Program, include, but are not
                         limited to:

                            i.    |The inmate's conduct while housed at the ADX, the
                                  Transitional Unit (B/A Phase 1), and/or the Pre-Transfer Unit
                                  (B/A Phase Il).

                           ii.   | The inmate's participation in and completion of programs
                                   recommended by the unit team while housed at the ADX,
                                  the Transitional Unit (B/A Phase |), and/or the Pre-Transfer
                                  Unit (B/A Phase II);

                          iii.   | The inmate's behavior and conduct towards, and interaction
                                   with, staff and other inmates while at the ADX, the
                                  Transitional Unit (B/A Phase 1), and/or the Pre-Transfer Unit
                                  (B/A Phase Il);

                          iv.     The inmate's overall institution adjustment, personal
                                  hygiene, and cell sanitation while at the ADX, the
                                  Transitional Unit (B/A Phase |), and/or the Pre-Transfer Unit
                                  (B/A Phase Il);


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                                v.    | The reason(s) the inmate was designated to the ADX;

                               vi.    | The inmate’s criminal history;

                              vii.    | The inmate’s involvement with criminal organizations, if any,
                                        and the potential safety and security threat(s) implicated by
                                        such involvement;

                             viii.    | The inmate's overall adjustment during his history of
                                       confinement;

                               ix.    | The institution’s safety and security needs, including the
                                        safety and security of staff;

                                x.    | The safety and security needs of the inmate;

                               xi.    | The safety and security needs of other inmates;

                              xii.    | The safety and security needs of the public;

                              xiii.   | Any other relevant factor(s).

                       f.    The review by the Committee is not a hearing. The inmate is not
                             entitled to be present, to have counsel, or to call witnesses.       As
                             mentioned, the inmate may present issues concerning his
                             advancement during his Program Reviews. The inmate is notified
                             at least 48 hours before his scheduled Program Review. This is
                             the inmate’s opportunity for individual attention and he is
                              encouraged to ask questions and discuss concerns.

                  g.          The final decision regarding placement in, or advancement to the
                              next step of the program, is made by the Warden of the ADX.

                  h.          |The recommendation for transfer out of the Program is made by
                              the Warden of the ADX, to the Regional Director, North Central
                              Region, following review by the Step-Down Committee.

                  i.        | The factors the Regional Director, North Central Region may
                              consider when reviewing the recommendation for transfer include,
                              but are not limited to, those factors set forth in section C, 1, (e),
                              above.




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          2)    Notification

                   a.      Each inmate will receive written notification of the decision from the
                           Warden or Regional Director from the Associate Warden.

                   b.      If the inmate is denied placement into, advancement to the next
                           step of, or transfer out of the program, the Associate Warden's
                           written notification will include the following:

                             i.    | The reason(s) for the denial, unless it is determined the
                                     release of this information could pose a threat to individual
                                     safety or institutional security, in which case that limited
                                     information may be withheld.

                             ii.   | The inmate may appeal the decision through the Federal
                                     Bureau of Prisons’ Administrative Remedy Program.

          3)    The denial of an inmate for placement in, advancement to the next step
                of, or transfer out of the program does not preclude the Committee,
                Warden, and/or Regional Director, NCR, from exercising their discretion
                to reach a different conclusion at a future review.

          4)    Provided the inmate who was denied continues to meet the eligibility
                factors for placement in or advancement to the next step of the program,
                the inmate will continue to be reviewed at least every six months.

    D.   REMOVAL

          1)      Inmates may be removed from any step of the program for the following
                  reasons:

                   a.      If the inmate is found guilty of committing prohibited acts by the
                           UDC or DHO;

                    b.     If the inmate can no longer safely function in a less-restrictive unit
                           without posing a risk to institutional security and good order;
                           posing a risk to the safety and security of staff, inmates or others,
                           including the inmate himself; and/or posing a risk to public safety,
                           based on the factors set forth in Part C.1(e), above.

           2)     The circumstances warranting consideration for removal (e.g.,
                  threatening, safety, and security) may require the inmate to be
                  immediately removed from the program.

           3)     The final decision regarding removal of an inmate from any step of the
                  program is made by the Complex Warden.
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           4)     If an inmate is removed from any step of the program as a program
                  failure, a recommendation will be made by the Step-Down Unit Team as
                  to whether the inmate should be placed in the Intermediate Unit (J/A-
                  Unit), Transitional Unit (B/A Phase |), a General Population Unit (C, D, E,
                  F, or G), or reviewed for transfer to a Special Management Unit (SMU).
                  The determination will be made on a case-by-case basis.      However,
                  inmates who are removed from the program and found guilty by the DHO
                  for greatest severity level incident reports (100 series) or high severity
                  level incident reports (200 series) may be placed in the C-Unit and
                  subsequently assigned to another ADX General Population Unit.

           5)     The inmate will receive written notice he is being considered for removal
                  from the program. The notice will contain the reasons for removal from
                  the program, unless it is determined that the release of this information
                  could pose a threat to individual safety or institutional security, in which
                  case that limited information may be withheld. The written notice may be
                  made through the Administrative Detention Order form (BP-308(52)).
                  The inmate may submit a written statement for consideration, regarding
                  whether removal from the Program is warranted.

           6)     The inmate will receive written notice of the decision. The written notice
                  will include the reasons for the decision, unless it is determined the
                  release of this information could pose a threat to individual safety or
                  institutional security, in which case that limited information may be
                  withheld. The notice will also notify the inmate that he may appeal the
                  decision through the Federal Bureau of Prisons’ Administrative Remedy
                  Program.

6. _ PRIVILEGE INCENTIVE PROGRAM (PIP)
*   SA;   The PIP is offered to all inmates in this unit who are on prolonged disciplinary
          telephone, visiting, and/or commissary restriction. By demonstrating positive
          programming for three consecutive months, these inmates may be considered
          for an exception to their disciplinary sanctions.

          In order to be considered for the PIP, inmates must submit a written request to
          their respective Unit Manager.

          The purpose of the PIP is to provide incentives for inmates who are on
          prolonged disciplinary restrictions to participate in available programs and
          maintain clear conduct, furthering the mission of the General Population and
          Step-Down Program. As inmates participate in programs, it is possible for
          inmates to have certain privileges restored that were suspended through the
          discipline process.   A goal of the PIP is to assist inmates by enhancing and


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         promoting the Federal Bureau of Prisons’ reentry initiative, which encourages
         them to build better community ties with other individuals.

    D.   Inmates must demonstrate positive programming by meeting the following
         requirements:

           1)      Paying all disciplinary fines;

           2)      Maintaining clear disciplinary conduct;

           3)      Participating in the Inmate Financial Responsibility Program, and/or
                   encumbrance (50/50) program;

           4)      Maintaining a job with satisfactory work performance, if applicable;

           5)     Active participation in and satisfactory completion of all programs
                  recommended by the Unit Team;

           6)      Completion of all ABE/GED, or satisfactory progress towards obtaining a
                   GED as determined by Education staff, or be exempt from the Literacy
                   Program;

           7)      Obtaining at least one form of identification;

           8)      Positive overall institution adjustment to include, but not limited to,
                   personal hygiene, cell sanitation with established standards;

           9)      Positive behavior and respectful conduct towards staff and other inmates.

           10)     Attendance at all Program Reviews

           11)     Enrollment and active participation in the programs administered through
                   Unit Team, Psychology, Re-Entry, and the Drug and Alcohol Program.

    E.   The PIP is a four-level program.              The types of incentives are determined by the
         level.    The privileges will be awarded as follows:


                General Population Units:
         Level                     Time Period                                 Telephone Incentive
                   3 months meeting requirements
                                                                   2 phone calls, up to 15 minutes, per month
                                                                   $60 commissary purchase per month
            1

                   Incentives are for the next three months, or
                                                                   One social visit per month
                   expiration of sanctions
                   6 months meeting requirements
                                                                   2 phone calls, up to 15 minutes, per month
                                                                   $100 commissary purchase per month
                   Incentives are for the next three months, or    Two social visit per month
                   expiration of sanctions


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                     9 months meeting requirements                       3 phone calls, up to 15 minutes, per month
              3             .                                            $140 commissary purchase per month
                     Incentives are for the next three months, or                  Ser
                     expiration of sanctions                             Three social visit per month

                     12 months meeting requirements                      3 phone calls, up to 15 minutes each, per month
              4                                                          $180 commissary purchase per month
                     Incentives continue as long as inmate meets
                     eligibility criteria, or expiration of sanctions    Four social visit per month


                  Intermediate Step-Down Unit (J/A):
            Level                     Time Period                                     Telephone Incentive
                     3 months meeting requirements
                                                                         3 phone calls, up to 15 minutes each, per month
              1             :                                            $60 commissary purchase per month
                     Incentives are for the next three months, or                oY, ane
                     expiration of sanctions                             One social visit per month

                     6 months meeting requirements                       3 phone calls, up to 15 minutes each, per month
              2             :                                            $100 commissary purchase per month
                     Incentives are for the next three months, or                ar   pee
                     expiration of sanctions                             Two social visit per month

                     9 months meeting requirements                       5 phone calls, up to 15 minutes each, per month
              3             :                                            $140 commissary purchase per month
                     Incentives are for the next three months, or                  par  rety
                     expiration of sanctions                             Three social visit per month

                     12 months meeting requirements                      5 phone calls, up to 15 minutes each, per month
              4                                                          $180 commissary purchase per month
                     Incentives continue as long as inmate meets
                     eligibility criteria, or expiration of sanctions    Four social visit ‘per month


    F.      Inmates will be reviewed by their Unit Team every 3 months to determine their
            appropriateness for additional telephone calls. Inmates who fail to meet the
            eligibility criteria at this review will be removed from the program. An inmate’s
            failure to maintain clear conduct will result in the inmate being removed from the
            program.




         DISTRIBUTION:

         Historical File
         Shared Directory
         Sallyport
         NCRO Correctional Programs Administrator
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